       Case 1:14-cr-00068-LGS              Document 297-5    Filed 02/05/18      Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------X

UNITED STATES OF AMERICA,                                     14 Cr. 68 (KBF)

                                   Plaintiff,                 DECLARATION OF ROSS
                                                              ULBRICHT REGARDING NON-
                                                              WAIVER OF RIGHTS
                            -v-

ROSS WILLIAM ULBRICHT,

                                   Defendant.

----------------------------------------------------X

        I, Ross Ulbricht, pursuant to 28 U.S.C. § 1746, hereby affirm under penalty of perjury:

I am the defendant in this case and I state the following to be true:

1. I was represented during pre-trial and trial proceedings, including sentencing, by three

lawyers, Joshua Dratel, Lindsay Lewis, and Joshua Horowitz.

2. I did my best to study, understand and exercise my rights throughout all stages of pre-trial and

trial proceedings. I asked my counsel to explain to me all legal proceedings in my case and all of

my rights in my case.

3. I did my best to assert my rights whenever given the opportunity to exercise my rights.

4. I understand that I have various fair trial and due process rights as a criminal defendant, rights

guaranteed by the Fifth and Sixth Amendments to the United States Constitution.

5. I consider my fair trial and due process rights as fundamental and important rights I would

not waive or compromise or surrender.


                                                        1
      Case 1:14-cr-00068-LGS            Document 297-5         Filed 02/05/18       Page 2 of 3




6. I never knowingly or intentionally waived any of my fair trial and due process rights, before

or during trial, with the exception that I did exercise the right not to testify at my trial, an action

which could be viewed as having waived the right to testify.

7. I did not knowingly or intentionally waive my right to trial by a fair and impartial jury.

8. I did not knowingly or intentionally waive my right to have my trial presided over by a fair

and impartial judge.

9. I did not knowingly or intentionally waive my right to a public and speedy trial.

10. I did not knowingly or intentionally waive my right to be present at all critical stages of my

case and my trial.

11. I did not knowingly or intentionally waive my right to object to being denied any of my fair

trial and due process rights.

12. I did not knowingly or intentionally waive my right to request the trial court recuse itself

based on actual or apparent bias.

13. I did not knowingly or intentionally waive my right to participate in any of the trial

proceedings.

14. I did not knowingly or intentionally waive my right to the presumption of innocence, nor did

I consent to, or waive my right to object to, the compromise or erosion of that right.

15. I did not knowingly or intentionally waive my right to object to improper or prejudicial

remarks from the trial court.

16. I did not knowingly or intentionally waive my right to object to being excluded from critical

stages of the trial proceedings.

17. I did not knowingly or intentionally waive my right to object to improper and prejudicial


                                                   2
Case 1:14-cr-00068-LGS   Document 297-5   Filed 02/05/18   Page 3 of 3
